108 F.3d 1391
    NOTICE: Federal Circuit Local Rule 47.6(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.Dionisio S. WENCESLAO, Petitioner,v.OFFICE OF PERSONNEL MANAGEMENT, Respondent.
    No. 97-3035.
    United States Court of Appeals, Federal Circuit.
    Feb. 07, 1997.
    
      Before MAYER, PLAGER, and BRYSON, Circuit Judges.
      ON MOTION
      BRYSON, Circuit Judge.
    
    ORDER
    
      1
      On December 18, 1996, we directed Dionisio S. Wenceslao to respond within 30 days to the issue of whether his petition for review should be dismissed as frivolous.  Wenceslao submits a response.  Manuel M. Coronel submits a response and moves for leave to intervene.*
    
    
      2
      In our December 18, 1996 order, we questioned whether Wenceslao's petition for review was frivolous because his sole argument was that Rosete v. Office of Personnel Management, 48 F.3d 514 (Fed.Cir.1995), was wrongly decided.  We noted that this court has denied suggestions for rehearing in banc in Rosete and in at least forty-one other cases in which the petitioner argued that Rosete was wrongly decided.  We instructed Wenceslao that any further attempts to argue the merits of Rosete could be deemed an abuse of the judicial process.
    
    
      3
      In his response, Wenceslao again disputes the validity of 5 C.F.R. § 831.201(a)(12).  This was the precise issue decided in Rosete.   Because Wenceslao's case does not present any legal issues or fact patterns distinguishable from those presented and decided in Rosete and numerous other cases, we conclude that Wenceslao's petition for review is frivolous and must be dismissed.  Further, we conclude that Wenceslao's persistent challenge to the correctness of Rosete is an abuse of the judicial process.  If Wenceslao files another document with this court and, upon review, it is determined that his arguments are frivolous, this court will consider the imposition of monetary sanctions.
    
    
      4
      Accordingly,
    
    IT IS ORDERED THAT:
    
      5
      (1) Wenceslao's petition for review is dismissed.
    
    
      6
      (2) Wenceslao's motion for leave to proceed in forma pauperis is denied.
    
    
      7
      (3) Coronel's motion for leave to intervene is moot.
    
    
      8
      (4) If Wenceslao files another document with this court and, upon review, it is determined that his arguments are frivolous, this court will consider the imposition of monetary sanctions.
    
    
      
        *
         Coronel intervened on the side of Wenceslao in the proceedings before the Merit Systems Protection Board, but did not file a petition for review here
      
    
    